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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


MONTANA ENVIRONMENTAL                     Case No. 1:19-cv-00130-SPW-TJC
INFORMATION CENTER, et al.,

              Plaintiffs,                     ORDER

        vs.

  DEBRA HAALAND in her official
  capacity as Secretary of the United
  States Department of the Interior, et
  al.,

              Federal Defendants,

       and

WESTMORELAND ROSEBUD
MINING, LLC, et al.,

              Defendant-Intervenors.




       Federal Defendants have filed a Second Unopposed Motion to Modify the

Scheduling Order. (Doc. 146.) Good cause appearing, IT IS HEREBY

ORDERED that the motion is GRANTED. The Scheduling Order is amended as

follows:

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Federal Defendants and Intervenor
Defendants briefs in support of their
combined cross-motions for summary
judgment and responses to Plaintiffs’
motion for summary judgment:                        June 15, 2021

Plaintiff’s combined brief in response
to Federal Defendants’ and Intervenor
Defendants’ cross-motions for
summary judgment and reply in
support of their motion for summary
judgment:                                           July 20, 2021

Federal Defendants’ and
Intervenor Defendants’ reply
briefs in support of their cross-
motions for summary judgment:
                                                    August 10, 2021

DATED this 7th day of June, 2021.

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                                         TIMOTHY J. CAVAN
                                         United States Magistrate Judge




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